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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             COLUMBUS DIVISION

RODRIGO ARREOLA, as parent                   *
of Hector Arreola, Deceased, and             *
as Personal Representative and               *
Administrator of the Estate of Hector        *
Arreola, CONCEPCION ARREOLA,                 *
as parent of Hector Arreola, and S.A.,       *
minor child of Hector Arreola, by            *
next friend Jezreel Imee Custodio,           *
                                             *
      Plaintiffs,                            *
                                             *
v.                                           *      Civil Action File Number:
                                             *      4:19-cv-00005-CDL
THE CONSOLIDATED                             *
GOVERNMENT OF COLUMBUS,                      *
GEORGIA, OFFICER MICHAEL                     *
AGUILAR, in his individual and               *
official capacity, OFFICER BRIAN             *
DUDLEY, in his individual and                *
official capacity, OFFICER                   *
AARON EVRARD, in his individual              *
and official capacity,                       *
                                             *
      Defendants.                            *

             DEFENDANTS’ BRIEF IN SUPPORT OF THEIR
            RENEWED MOTION FOR SUMMARY JUDGMENT

      The Consolidated Government of Columbus, Georgia (“CCG”), Officer

Michael Aguilar, in his individual and official capacity (“Officer Aguilar”), Officer

Brian Dudley, in his individual and official capacity (“Officer Dudley”), and
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Officer Aaron Evrard, in his individual and official capacity (“Officer Evrard”)1

file this Brief in Support of their Renewed Motion for Summary Judgment,

respectfully showing the Court the following:

                                INTRODUCTION

      This is an excessive force case brought by the family of Hector Arreola, who

died on January 10, 2017. The night before, a deranged Mr. Arreola engaged in a

violent struggle with Officers Aguilar, Dudley, and Evrard, after violating their

verbal instructions, and then fighting, kicking, and resisting their efforts to place

him in custody. The tragedy is that Officers Aguilar, Dudley and Evrard, with the

assistance of Mr. Arreola’s own mother, tried to reason with Mr. Arreola to get

him the help he needed, but Mr. Arreola refused their repeated pleas.

      Discovery was bifurcated.       In the first phase, the parties engaged in

discovery solely related to whether a constitutional violation occurred and whether

qualified immunity applied. The Court entered a summary judgment order dated

March 3, 2020 [Doc. no. 30], in which the Court found that Officers Aguilar,

Dudley, and Evrard were not deliberately indifferent to the medical needs of Mr.

Arreola and were thus entitled to summary judgment on Plaintiffs’ Fourteenth


1
 As recognized by the Court’s summary judgment order dated March 3, 2020 [Doc.
no. 30], Plaintiffs have withdrawn all claims against Richard T. Boren, and the
Court has granted summary judgment to Richard T. Boren on these claims. [Doc.
no. 30, n. 1]. Plaintiffs have also withdrawn all state law claims against
Defendants, and the Court has granted summary judgment on those claims. [Id.].

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Amendment claims. [Doc. no. 30, p. 30]. The Court further found Officers

Aguilar, Dudley, and Evrard were not liable for any Fourteenth Amendment

excessive force claims, with the possible exception of an approximate two minute

and fourteen second time period between the time when Mr. Arreola was

handcuffed and the time leg shackles were applied. [Doc. no. 30, p. 27]. With

respect to that time period, and that time period only, there was potentially a

question of fact for the jury to resolve. [Id., p. 27].2

      Because the parties bifurcated discovery, the Court’s Order was, of course,

based on what Plaintiffs said their case was about at that time. That has, to say the

least, changed dramatically. Plaintiffs originally preserved their claims against the

CCG, contending that they might uncover evidence of a custom or policy sufficient

to impose liability under Monell v. Department of Social Services of the City of

New York, 436 U.S. 658 (1978). They have not, and summary judgment is due to

be granted on all claims against the CCG.3


2
 According to this Court, “[i]t is primarily from the testimony of Hector’s mother,
which is admittedly inconsistent, but when she is given the benefit of favorable
inferences, that testimony clearly supports the conclusion that Hector had ceased
resisting at the time the handcuffs were applied. And if a jury finds that in fact is
what happened, then Defendants are not entitled to qualified immunity and a jury
would be authorized to find that Hector’s Fourth Amendment right to be free from
excessive force was violated.” [Doc. no. 30, p. 27].
3
 This would, of course, also apply to all official capacity claims against Officers
Aguilar, Dudley, and Evrard, as those claims are considered claims against their
employer, the CCG. Kentucky v. Graham, 473 U.S. 159, 165 (1985).

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      As to the individual capacity claims against Officers Aguilar, Dudley, and

Evrard, Plaintiffs said that the evidence would show that “Hector suffered

positional/compressional asphyxia during the arrest based on the pressure that

officers applied to his back when they sat on him and dug their elbows/knees into

his back.” [Doc. no. 30, p. 9]. But Plaintiffs’ own expert, Dr. Sperry, has now

testified that Mr. Arreola did not die from positional asphyxia. [Deposition of Dr.

Kris Sperry (“Sperry Dep.”), p. 65:7-12]. Dr. Sperry instead opines that Mr.

Arreola died, in part, from acidosis and hypoxia as a result of his “struggle” with

law enforcement, but he cannot identify at what point during the “struggle” these

medical conditions occurred. [Id., p. 73:1-12]. He has no opinion on which police

officer actually caused these medical conditions. [Id., p. 82:3-10]. And he readily

admits that Mr. Arreola’s methamphetamine toxicity played a part in his death.

[Id., p. 45:21-23 (“It [methamphetamine] was part, you know, the -- of all the

different factors there, yes. I mean it’s present so it’s, you know, inescapable.”)].

      Plaintiffs are therefore left with this case – they have no evidence of when

Mr. Arreola suffered an injury that led to his death as a result of alleged excessive

force. They instead have a “struggle,” the vast majority of which the Court has

deemed to be constitutional. [Doc. no. 30, p. 14 (“Here, Plaintiffs do not argue that

the amount of force used before handcuffing was excessive. At that point, Hector

was still resisting arrest and unrestrained.”].      And, to make matters worse,


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Plaintiffs cannot identify which police officer caused the alleged unconstitutional

injury. Their case is built entirely on speculation as to how the injury occurred,

when the injury occurred, and who caused it. That is not enough to raise an issue

of fact for a jury to consider.

                              SUMMARY OF FACTS

      In accordance with Local Rule 56, Defendants have filed a Statement of

Undisputed Material Facts in Support of their Motion for Summary Judgment

(“SMF”), which is incorporated herein by reference.

                            PROCEDURAL POSTURE

      This Court entered a Scheduling and Discovery Order dated April 17, 2019,

which allowed Defendants to file motions for summary judgment related to

immunity and the alleged violation of Mr. Arreola’s constitutional rights after the

close of the initial bifurcated discovery period. [Doc. no. 7, ¶ III(D)]. Defendants

so moved, and this Court entered a summary judgment order on March 3, 2020,

granting in part and denying in part Defendants’ Motion for Summary Judgment.

[Doc. no. 30].

      On March 9, 2020, the Court entered a text order extending the second

bifurcated discovery period, and ordering that any further motions for summary

judgment be filed on or before July 10, 2020. [Doc. no. 32]. That order was later




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amended [Doc. no. 34], extending the summary judgment deadline until August 9,

2020.4 Defendants now move for summary judgment on all remaining claims.

                    SUMMARY JUDGMENT STANDARD

      Summary judgment shall be granted where “the movant shows that there is

no genuine dispute as to any material fact and the movant is entitled to judgment as

a matter of law.” Fed. R. Civ. P. 56(a). An issue of fact is “material” if, under the

applicable law, it might affect the outcome of the case, and an issue of fact is

“genuine” if the record, taken as a whole, could lead a rational trier of fact to find

for the non-moving party. Allen v. Tyson Foods, 121 F.3d 642, 646 (11th Cir.

1997). Summary judgment shall be granted against a party who fails to establish

the existence of an element essential to their case, and on which that party bears

the burden of proof. Allen v. Bd. of Public Educ. for Bibb Cnty., 495 F.3d 1306,

1313 (11th Cir. 2007).

               ARGUMENT AND CITATION OF AUTHORITY

1.    Claims Against the CCG: No Monell Liability

      The United States Supreme Court has placed strict limitations on municipal

liability for constitutional claims. There is no respondeat superior liability under

Section 1983 making a municipality liable for the wrongful actions of its police


4
 The undersigned counsel for Defendants greatly appreciates the kind cooperation
of Plaintiffs’ counsel – and the Court – in extending the summary judgment
deadline due to a COVID-19 related issue.

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officers. See Monell, supra, 436 U.S. at 691. Instead, a municipality may only be

held liable for the actions of a police officer when an “official policy or custom”

causes a constitutional violation. Id. Plaintiffs accordingly bear the burden to

“identify a municipal policy or custom that caused [the] injury.” Gold v. City of

Miami, 151 F.3d 1346, 1350 (11th Cir. 1988) (internal quotation omitted) (citing

Board of County Com’rs v. Brown, 520 U.S. 397 (1997)).

      “It is only when the execution of the government’s policy or

custom…inflicts the injury that the municipality may be held liable under § 1983.”

City of Canton v. Harris, 489 U.S. 378, 385 (1989) (internal quotations omitted).

To impose Section 1983 liability on the CCG, Plaintiffs must show: (1) that Mr.

Arreola’s constitutional rights were violated; (2) that the CCG had a custom or

policy that constituted deliberate indifference to his constitutional rights; and (3)

that the policy or custom caused the violation. McDowell v. Brown, 392 F.3d

1283, 1289 (11th Cir. 2004) (citing Canton, supra, 489 U.S. at 388).

      First, there is no evidence of an “official policy” to engage in excessive

force promulgated by the CCG or any final policymaker of the Columbus Police

Department.5 Instead, the evidence shows that the Columbus Police Department is

certified through the Commission on Accreditation of Law Enforcement Agencies


5
 Defendants do not concede that Mr. Arreola suffered a constitutional violation.
This Court has likewise found that there was no violation of Mr. Arreola’s
constitutional rights for the vast majority of the struggle. [Doc. no. 30, p. 22].

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(“CLEA”). [SMF ¶ 47; Boren Dep., p. 27:9-25].            The department follows best

practices for law enforcement agencies and establishes training protocols for all

officers, including as to subjects such as excessive force, excited delirium, and

positional asphyxia. [SMF ¶¶ 49, 57-59; Wynn Dep., pp. 21:13-22; 40:11-17;

48:23-49:16; 60:9-25)].

      There is simply no evidence in this case of any official policy that resulted in

a violation of Mr. Arreola’s constitutional rights. In fact, Plaintiffs have admitted

the contrary. [See, e.g., Doc. no. 22, Pl’s. Br. in Opp. to Def’s. Mot. for Summary

Judgment, p. 13 (“Plaintiff withdraws the claim against Chief Boren as it has

become apparent through discovery that the officers were sufficiently trained with

respect to positional/compressional asphyxia to pass constitutional muster.”)]. And

the undisputed evidence likewise shows extensive training provided by the

Columbus Police Department on the very issues Plaintiffs claim (or at least at one

time clamed) this case was about. To the extent Plaintiffs are attempting to

establish Monell liability based on an official policy of the CCG, that claim fails.

See, e.g., Gold, supra, 151 F.3d at 1350 (“[A] municipality rarely will have an

express written or oral policy of inadequately training or supervising its

employees…).6


6
 To the extent Plaintiffs are arguing that the “official policy” that resulted in a
violation of Mr. Arreola’s constitutional rights is a failure to train, that claim fails.
Plaintiffs have admitted that “Officers Dudley, Aguilar, and Evrard were trained to

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      Second, there is no evidence of any unofficial custom or practice that,

though unwritten, has the force of law, and which resulted in a violation of Mr.

Arreola’s constitutional rights.    To prove Section 1983 liability against a

municipality based on custom, a plaintiff must show a widespread practice that

“although not authorized by written law or express municipal policy, is so

permanent and well settled as to constitute a custom or usage with the force of

law.” St. Louis v. Praprotnik, 485 U.S. 112, 127 (1988) (internal quotations


watch for and detect the symptoms of compressional/positional asphyxia.” [Pl’s
Br. in Opp. to Def’s. Mot. for Summary Judgment, Doc no. 22, p. 7; see also id., p.
13]. Plaintiffs’ admissions and the undisputed evidence regarding the training
received by Officers Aguilar, Dudley, and Evrard [SMF ¶¶ 50-59] affirmatively
show that the CCG’s policies regarding training were not deliberatively indifferent
to the constitutional rights of Mr. Arreola:

      We hold today that the inadequacy of police training may serve as the
      basis for § 1983 liability only where the failure to train amounts to
      deliberate indifference to the rights of persons with whom the police
      come into contact. This rule is most consistent with our admonition ...
      that a municipality can be liable under § 1983 only where
      its policies are the “moving force [behind] the constitutional
      violation.” Only where a municipality’s failure to train its employees
      in a relevant respect evidences a “deliberate indifference” to the rights
      of its inhabitants can such a shortcoming be properly thought of as a
      city “policy or custom” that is actionable under § 1983....
      “[M]unicipal liability under § 1983 attaches where-and only where-a
      deliberate choice to follow a course of action is made from among
      various alternatives” by city policymakers. Only where a failure to
      train reflects a “deliberate” or “conscious” choice by a municipality-a
      “policy” as defined by our prior cases-can a city be liable for such a
      failure under § 1983.

City of Canton, supra, 489 U.S. at 388-89 (internal citations omitted).

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omitted). In cases of alleged municipal “inaction” (to the extent that is what

Plaintiffs are alleging), a municipality’s failure to correct the constitutionally

offensive actions of its employees can rise to the level of a custom or policy “if the

municipality tacitly authorizes these actions or displays deliberate indifference”

towards the misconduct. Griffin v. City of Opa-Locka, 261 F.3d 1295, 1308 (11th

Cir. 2001).

      Proof of such permanent and well-settled customs is not easy.             “It is

generally necessary to show a persistent and widespread practice. Moreover, actual

or constructive knowledge of such customs must be attributed to the governing

body of the municipality. Normally random acts or isolated incidents are

insufficient to establish a custom or policy.” Church v. City of Huntsville, 30 F.3d

1332, 1345 (11th Cir. 1994) (quoting Depew v. City of St. Marys, 787 F.2d 1496,

1499 (11th Cir.1986)).

      There is no evidence that the CCG has approved of any unconstitutional

policy or custom that resulted in a violation of Mr. Arreola’s constitutional rights.

This case is instead the classic alleged unofficial custom or policy case where the

Plaintiffs have failed to show that a custom or policy was “the moving force

[behind] the constitutional violation.” Grech v. Clayton Cty., Ga., 335 F.3d 1326,

1330 (11th Cir. 2003). Plaintiffs are apparently arguing that Mr. Arreola died while

in the custody of the Columbus Police Department and that, alone, is enough to


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potentially impose municipal liability.       But “[p]roof of a single incident of

unconstitutional activity is not sufficient to impose liability against a

municipality.” Craig v. Floyd Cty., Ga., 643 F.3d 1306, 1310 (11th Cir. 2011)

(quoting City of Okla. City v. Tuttle, 471 U.S. 808, 823–24 (1985)); see also

McDowell, supra, 392 F.3d at 1290-91 (finding no Monell liability where inmate

pointed to one incident where the jail’s alleged under-staffing led to an inability to

transport an inmate in need of medical attention).

      In this case, there is no evidence of any misconduct in the past by Officers

Aguilar, Dudley, and Evrard, or any other Columbus Police Department officers

for that matter. This is no evidence of any prior similar incidents even remotely

similar to Mr. Arreola’s death. And, both Lt. Wynn and Chief Boren have plainly

testified that the actions of Officers Aguilar, Dudley, and Evrard were entirely in

compliance with the policies of the Columbus Police Department. [SMF ¶¶ 62, 63;

Wynn Dep., p. 64:4-14; Boren Dep., p. 37:4-20]. Plaintiffs have not, and cannot,

show a custom or practice by the CCG that was a moving force behind any

constitutional violation that Mr. Arreola allegedly suffered.       The Motion for

Summary Judgment of the CCG and Officers Aguilar, Dudley, and Evrard in their

official capacities is due to be GRANTED.




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2.    Individual Capacity Claims Against Officers – No Proof of Causation

      In the first round of summary judgment briefing, Plaintiffs represented to the

Court, and the Court accepted, that this was a positional/compressional asphyxia

case. As the Court noted in its prior summary judgment order:

      Because the parties bifurcated discovery, causation is not an issue for
      purposes of the present motion. But, Plaintiffs expect the evidence to
      show that Hector suffered positional/compressional asphyxia during
      the arrest based on the pressure that officers applied to his back when
      they sat on him and dug their elbows/knees into his back. Plaintiffs
      contend that, as a result, there was an oxygen deficiency, known as
      hypoxia, in Hector’s blood which led to brain damage and eventual
      cardiac and respiratory arrest.

      They argue that Hector was suffering from a condition known as
      “excited delirium” on the night of his death, which can be brought on
      my mental illness, narcotics use, or a combination of these factors.
      Plaintiffs assert that applying weight to the back and/or neck of
      individuals in this state can often lead to sudden death by hypoxia,
      especially after an intense struggle.

[Doc. no. 30, pp. 9-10].

      Plaintiffs subsequently identified Dr. Kris Sperry as their expert on medical

causation issues and the parties have conducted discovery related to those issues.

To say the least, Dr. Sperry’s testimony paints a far different picture about this

case than the one Plaintiffs previously asserted to the Court.




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      Mr. Arreola did not suffer compressional/positional asphyxia on January 9,

2017. 7 Mr. Arreola did not suffer from excited delirium either.8 Dr. Sperry cannot

rule out that methamphetamine was the cause of Mr. Arreola’s death.9 He cannot

say at what point during the struggle with the police officers that Mr. Arreola’s

condition became grave, even though the Court has already determined that the

force used before Mr. Arreola was handcuffed did not constitute a constitutional

violation [Doc. no. 30, p. 14].10 And Dr. Sperry cannot tell the Court which officer

engaged in any conduct that caused injury to Mr. Arreola.11


7
 Q: Right. But I want to make – to be real clear though about your opinions and
what I’m referring to as positional asphyxia. And you believe that Hector Arreola
did not die from positional asphyxia, right?
A: Correct.

[SMF ¶ 65; Sperry Dep., p. 65:7-10].

Q:
8
      Do you believe that Hector Arreola suffered from excited delirium?
A:    No.

[SMF ¶ 65; Sperry Dep., p. 97:17-19].
9
 Q: It’s a reasonable possibility that methamphetamine contributed to his death,
correct?
  A: Yes.

[SMF ¶ 71: Sperry Dep., p. 47:17-20].

 Q: All right. Are you able to tell me at any point during the struggle how much
10

Hector Arreola’s oxygen was decreased?
 A: No.

[SMF ¶ 74; Sperry Dep., pp. 87:25-88:3].

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      “The Constitution is the substantive fuel powering § 1983, but its

mechanical structure is similar to the common law of Torts.” Dixon v. Burke Cnty,

Ga., 303 F.3d 1271, 1275 (11th Cir. 2002). “As with any common law tort,

Plaintiffs must establish an adequate causal link between the alleged harm and the

alleged unlawful conduct.” Id. (citing Barts v. Joyner, 865 F.2d 1187, 1195-96

(11th Cir. 1989)). That is, defendants in Section 1983 cases are, as in common law

tort cases, only responsible for the natural and foreseeable consequences of their

actions. Malley v. Briggs, 475 U.S. 335, 344-45, n.7 (1986). That inquiry focuses

on two elements:

      Under traditional tort principles, causation has two required elements:
      cause-in-fact and legal or proximate cause. See W. Page Keeton, et
      al., Prosser and Keeton on the Law of Torts, §§ 41–42, at 263–80 (5th
      ed.1984). A plaintiff must first show that the constitutional tort was a
      cause-in-fact of the injuries and damages claimed. To establish cause-
      in-fact, the plaintiff must show that except for the constitutional tort,
      such injuries and damages would not have occurred. Id. Secondly, a
      plaintiff must show that the constitutional tort was the legal or
      proximate cause of the injuries and damages claimed. An act or
      omission is a legal or proximate cause of a plaintiff’s injuries or
      damages if it appears from the evidence that the injury or damage was
      a reasonably foreseeable consequence of the act or omission. Id.



 Q: All right. Am I correct to assume that you are not offering any opinion as to
11

which of the three officers involved specifically caused any damage to Hector
Arreola?
 A: Correct. I’m not. Yeah, I’m not offering an opinion about anyone specific
officer in relation – as opposed to the other two.

[SMF, ¶ 75; Sperry Dep., p. 45:4-10].

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Jackson v. Sauls, 206 F.3d 1156, 1168, n.16 (11th Cir. 2000).

      State law governs the question of causation in a Section 1983 case. 42

U.S.C. § 1988; Williams v. Bennett, 689 F.2d 1370, 1389 (11th Cir. 1982)

(“Alabama law governs the definition of proximate cause in this case.”). Under

Georgia state law, where medical questions are raised as to causation, it must be

proven that to a reasonable degree of medical certainty, the injury complained of

was the result of the tortfeasor’s negligent or reckless act. Anthony v. Chambliss,

231 Ga. App. 657, 659, 500 S.E.2d 402, 404 (1988). “[W]hen medical questions

are raised in such a case, expert evidence is required because the proximate cause

of a decedent’s death is not one of those matters which jurors [can] be credited

with knowing by reason of common knowledge.” Cowart v. Widener, 296 Ga.

App. 712, 714, 675 S.E.2d 591, 594 (2009) (granting summary judgment to the

defendants on causation grounds in an ordinary negligence case where the

plaintiff’s medical evidence only showed a “possible” cause of death).

      Proving causation consequently requires more than speculation and

guesswork. This principle is perhaps best seen in the Eleventh Circuit’s decision

in Mann v. Taser Int’l., Inc., 588 F.3d 1291 (2009). There, the plaintiffs brought a

death case based on excessive force claims against a municipality, and also brought

state law claims against the manufacturer of the Taser. In affirming the grant of

summary judgment in favor the defendant manufacturer, the Eleventh Circuit held:


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      Dr. Gowitt opined in his February 2007 report that Melinda's death
      was caused by “excited delirium.” Although he suggests a long list of
      aggravating factors, nowhere does he state that the use of the Taser
      was a cause or a contributing cause of death based upon reasonable
      medical certainty. This was repeated in Dr. Gowitt’s deposition of
      June 27, 2007, wherein he confirmed that in his opinion Melinda's
      death was caused by “excited delirium.” He also discussed the
      dangers involved with repeated use of methamphetamine and how that
      can lead to “excited delirium.” Dr. Gowitt did opine that the use of the
      Taser probably made the situation worse, but that simply falls short of
      the requirements of law.

      Georgia law is clear that medical causation must come from expert
      testimony and must provide a causal connection that is “more than a
      mere chance or speculation” Anthony v. Chambless, 231 Ga. App.
      657, 500 S.E.2d 402, 404 (1998). Plaintiffs’ evidence fails to meet the
      causation standard required by Georgia law. Although Plaintiffs
      correctly contend that there may be more than one cause of an injury,
      Plaintiffs have provided no admissible evidence to support their claim
      that use of the Taser caused Melinda’s death. Since Plaintiff has failed
      to make a sufficient showing on an essential element with respect to
      which they have the burden of proof, summary judgment is
      appropriate. See Celotex, 477 U.S. at 322–23, 106 S.Ct. at 2552.

Mann, 588 F.3d at 1304.

      With these legal standards in mind, consider the facts of this case. In its

prior summary judgment order, the Court construed the body-cam video of the

incident in the light most favorable to the Plaintiffs. [Doc. no. 30, pp. 5-7].

Construed in that light, the Court found that the struggle between Mr. Arreola and

Officers Aguilar and Dudley began at 5:25 a.m. [Id., p. 5]. Officers Aguilar and

Dudley were able to get both handcuffs secured at 5:29:03 a.m. [Id., p. 6]. Officer

Evrard arrived approximately sixty seconds later, and his video showed a seven


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second image in which Officer Aguilar was on the lower back/rear end of Mr.

Arreola, and Officer Dudley had a knee digging into Mr. Arreola’s back. [Id., p.

7].   Officer Dudley then went to get leg shackles from his car and left the

immediate scene. [Id.]. When he returned, the leg shackles were applied, and the

officers rolled Mr. Arreola to his side at approximately 5:31:17 a.m. [Id., p. 8].12

      Under the Court’s construction of the facts, considered in light of Dr.

Sperry’s testimony, it is apparent that Plaintiffs cannot prove causation. First, as to

Officer Dudley, the facts show that he wasn’t even there during the relevant time

period.13 As the Court has previously found, when Officer Evrard arrived at the

scene, Officer Dudley went back to his car to get leg irons. [Doc. no. 30, p. 7].

The only time period in which the Court has noted any involvement of Officer

Dudley is in the roughly seven-second image recorded on Officer Evrard’s body

cam as he approached. But, even according to the Court’s favorable construction


12
  As it was required to do, the Court construed the body-cam video in the light
most favorable to the Plaintiffs in the prior summary judgment order. Defendants
reserve the right to challenge the favorable inferences given to the Plaintiffs’
evidence in the event this matter proceeds to trial.
13
  The Court found that no excessive force was used during the part of the struggle
that began at 5:25 a.m. up until the time handcuffs were applied at 5:29:18 a.m.
[Doc. no. 30, p. 6]. The Court likewise granted summary judgment as to all
Fourteenth Amendment deliberate indifference to medical needs claims for the
time period after this two minute and fourteen second period. [Id., p. 27]. The only
issue of fact potentially remaining in this case concerns the approximately “to-
minute-and-fourteen second time span after he was handcuffed….” [Id., p. 22].


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of the facts for Plaintiffs, Officer Dudley’s entire involvement lasted all of seven

seconds. Whether viewed from the perspective of causation or qualified immunity,

surely Officer Dudley is afforded seven seconds to disengage from a violent

struggle with a suspect.    See, e.g., Graham v. Conner, 490 U.S. 386, 396-97

(1989) (holding that excessive force claims must be viewed “from the perspective

of a reasonable officer on the scene, rather than with the 20/20 vision of

hindsight.”).

      As to Officers Aguilar and Evrard (and Dudley, to the extent the Court

determines he had involvement), Plaintiffs have not proven how any of their

actions caused the death of Mr. Arreola. 14       Dr. Sperry cannot rule out that

methamphetamine toxicity was the case of death of Mr. Arreola. [SMF ¶ 71;

Sperry Dep., p. 47:14-20]. 15 He has no opinion as to which officer actually injured

Mr. Arreola. [SMF ¶ 75; Sperry Dep., p. 45:4-14]. He likewise cannot testify at

what point in the process of the “struggle” that Mr. Arreola’s condition became


14
  Defendants recognize that Priester v. City of Riviera Beach, 208 F.3d 919 (11th
Cir. 2000) recognized potential liability for a police officer who fails to intervene
when another officer uses excessive force, but that liability “only arises when the
officer is in a position to intervene and fails to do so.” Priester, 208 F.3d at 924.
There is no evidence that Officers Aguilar, Dudley, or Evrard had an opportunity
to intervene to prevent the use of excessive force during the relevant time period.
And, again, Officer Dudley wasn’t even there.
15
  Dr. Sperry agrees that methamphetamine can cause sudden death, and that he has
seen “hundreds” of such cases through the years. [SMF ¶ 68; Sperry Dep., pp.
47:21-48:2].

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critical. [SMF ¶ 73; Sperry Dep., pp. 76:19-78:4; 78:19-79:2]. He just lumps it all

together:

      Q:    What in your opinion caused the critical acidosis in Hector
      Arreola?

      A:     The physical exertion before the struggle, the struggle and the
      restraint, some element of hypoxia or inadequate oxygen exchange
      during the course of the restraint and I that those are, you know, those
      are the main elements, yes.

      Q:     Okay. And so those elements you’ve just listed, would you say
      that all of those taken together is what caused the critical acidosis?

      A:     Yes.

      Q:    All right. Are you able to tell me at any point during the
      struggle how much Hector Arreola’s oxygen was decreased?

      A:     No.

[SMF ¶ 74, Sperry Dep., pp. 87:20-88:3]. The best Dr. Sperry could do (from

Plaintiffs’ standpoint) was to testify that “during the course of being restrained, the

officers at different times were on his body, on his chest…” [Sperry Dep., p.

60:15-20]. He cannot, however, testify as to who, what, or when. 16

      The net result is that the question of causation is left wholly to speculation.

Without any evidence as to which officer caused the alleged injury, a jury would


16
  Dr. Sperry likewise opined that the police officers delayed in calling emergency
medical services and that delay played a part in Mr. Arreola’s death. [SMF ¶ 66,
Sperry Dep., p. 44:1-9]. Of course, this Court has already granted summary
judgment on those claims. [Doc. no. 30, pp. 27-30].


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be forced to speculate as to which officer, if any, caused the injury. And, even

worse, a jury would be forced to speculate as to at what point in the “struggle” the

injury occurred, even though the Court has already found that the “struggle” prior

to Mr. Arreola being handcuffed passed constitutional muster, as did the actions of

the police officers after leg shackles were applied. This case, like Mann, rests

causation wholly on chance and speculation, and that is not enough to give rise to a

jury question. Mann, 588 F.3d at 1304.17

      The law is clear that “[f]or damages to be proximately caused by a

constitutional tort, a plaintiff must show that, except for that constitutional tort,

such injuries and damages would not have occurred and further that such injuries

and damages were the reasonably foreseeable consequences of the tortious acts or

omissions in issue.” Sauls, 206 F.3d at 1168. Plaintiffs cannot meet this standard

and the Motion for Summary Judgment of Officers Aguilar, Dudley, and Evrard, in

their individual capacities, is due to be GRANTED.


17
  Defendants acknowledge that in Dr. Sperry’s expert report, he did opine to a
reasonable degree of medical certainty that Mr. Arreola did not die of
methamphetamine toxicity [Sperry Dep., Ex. “4”], as the doctor in Mann
apparently did not do. In his deposition, however, Dr. Sperry made clear that Mr.
Arreola’s methamphetamine use was a contributing factor in Mr. Arreola’s death.
[Sperry Dep., p. 45:21-23 (“I mean it’s present so it’s, you know, inescapable.”)].
But irrespective of those backsteps, Dr. Sperry admits he cannot testify who caused
Mr. Arreola’s injuries or when they occurred. That makes this case just like Mann,
where a jury could only speculate whether any injury sustained by Mr. Arreola was
casually connected to an unconstitutional act of excessive force, who caused that
injury, and whether that injury occurred during the relevant time period.

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Respectfully submitted, this 7th day of August, 2020.

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                         CERTIFICATE OF SERVICE

      I do hereby certify that I am counsel for Defendants and that on this date I

served the foregoing document, Defendants’ Brief in Support of Motion for

Summary Judgment through the Court’s CM/ECF system, which will ensure

delivery to the following:

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      This 7th day of August, 2020.

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